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                                                                                                                  File Number: 11362952
                     State of Utah
                     DEPARTMENT OF COMMERCE
                     Division of Corporations & Commercial Code



                       Business Name Registration / DBA Application
Requested Business Name: MAYO CLINIC STORE SIEBENS
Entity Number: 11362952
Application Date: 07/01/2019
Approved Date: 07/01/2019
Expiration Date: 07/01/2022
Filer Electronic Signature: Teri Alcott

Business Information
Purpose: Health and Personal Care Stores
Address: 200 First Street SW
 Rochester, MN 55905
Female Owned: No
Minority Owned: No

Registered Agent
Name: CT CORPORATION SYSTEM
Type: CRA
Address:
 , UT

Applicant / Owner(s):
Name: MAYO FOUNDATION FOR MEDICAL EDUCATION AND RESEARCH
Entity Number: 7800227-0141
Address: 200 First Street SW
 Rochester, MN 55905



                                                         State of Utah
                                                         Department of Commerce
                                                         Division of Corporations & Commercial Code

                                                         This certifies that this registration has been filed
                                                         and approved on 01, July 2019 in the office of the
                                                         Division and hereby issues this Certification thereof.




                                                                     Jason Sterzer
                                                                     Division Director

Under GRAMA {63-2-201}, all registration information maintained by the Division is classified as public record. For confidentiality purposes, the
business entity physical address may be provided rather than the residential or private address of any individual affiliated with the entity.
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FILING HISTORY



  ENTITY INFORMATION



    Entity Name:

    MAYO CLINIC STORE SIEBENS
    Entity Number:

    11362952-0151

    Entity Type:

    Assumed Name (DBA)
    Formation Date:

    07/01/2019 12:00 AM

    Entity Subtype:

    Assumed Name - 151
    Formation Effective Date:

    07/01/2019 12:00 AM

    Profession:

    N/A
    Assumed Name:

    N/A

    Entity Status:

    Active



    Entity Status Details:

    None
    FEI/EIN Number:

    Not Provided
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   FEI/EIN Status:




FILING HISTORY DETAILS

                Effective
File Date       Date            Filing Number    Document Type               Filing Status   Source     View

07/01/2019 07/01/2019 11362952-0151 Certificate of Assumed and of                            Internal
12:00 AM 12:00 AM                   True Name

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                                                  Home      My Network    Jobs      Messaging Notifications   Me   For Business   Learning




                    Kyle Cornwall · 3rd
                    Director - Platform Technology
                          Mayo Clinic
                          University of Utah School of Medicine
                    Salt Lake City Metropolitan Area · Contact info
                    500+ connections
                         Message               Follow        More

                    Activity
                    666 followers
                      Posts Comments
                    Kyle Cornwall posted this • 11mo
                    I’m happy to share that I’m starting a new position as Director - Platform
                    Technology at Mayo Clinic!
                           142                                                             35 comments
                                                       Show all posts

                    Experience
                             Director - Platform Technology
                             Mayo Clinic · Full-time
                             Apr 2023 - Present · 1 yr
                             Salt Lake County, Utah, United States · Remote
                             Director of Engineering | Clinical Data and Analytics
                             b.well Connected Health · Full-time
                             Sep 2021 - Apr 2023 · 1 yr 8 mos
                             Salt Lake City, Utah, United States
                             Health Catalyst
                             5 yrs 6 mos
                             Senior Director | Professional Services, Analytics
                             Full-time
                             Aug 2020 - Sep 2021 · 1 yr 2 mos
                             Consultant, Professional Services
                             Full-time
                             Mar 2020 - Aug 2020 · 6 mos
                             Salt Lake City, Utah, United States
                             Senior Product / Software Engineer
                             Oct 2019 - Mar 2020 · 6 mos
                             Salt Lake City, Utah
                             • Co-lead architect in pioneering SMART on FHIR application capabilities
                             at an organizational level, providing closed-loop integrated solutions at…
